Case 4:20-cv-00068-RWS-CMC Document 149-5 Filed 12/18/20 Page 1 of 18 PageID #:
                                  3486



     From: Steve Kardell <skardell@kardelllawgroup.com>
     Subject: RE: ... no objection from you guys?
     Date: September 1, 2020 at 1:07:17 PM CDT
     To: "'hutch@hsjustice.com'" <hutch@hsjustice.com>
     Cc: Rafe Foreman <srforeman@hsjustice.com>, Juan
     Antonio Lozada <juan@tximmigrationlaw.com>,
     Laura Smith <lsmith@kardelllawgroup.com>
     I don't disagree but I would like to see what you guys plan to ﬁle .




     Steve Kardell

     Board Cer)ﬁed Labor & Employment Law; Texas Board of Legal
     Specializa)on



     4514 Cole Avenue, Suite 600
     Dallas, Texas 75205

     Direct: 214-616-4654
     Secure Fax: 469-729-9926
     Email: skardell@kardelllawgroup.com
     Website: www.dallaswhistleblowerlawyer.com




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                                  3487




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     From: hutch@hsjusMce.com <hutch@hsjusMce.com>
     Sent: Tuesday, September 1, 2020 1:06 PM
     To: Steve Kardell <skardell@kardelllawgroup.com>
     Cc: Rafe Foreman <srforeman@hsjusMce.com>; Juan Antonio Lozada
     <juan@tximmigraMonlaw.com>; Laura Smith
     <lsmith@kardelllawgroup.com>
     Subject: Re: ... no objecMon from you guys?

     Steve

     I honestly don’t think we need your aﬃdavit. The Court is not going to
     care about their stupid allegaMons of “intent.” Your intent is irrelevant
     to the analysis. The only thing the Court is going to address is the
     “sweep” of the allegaMons. She has already wricen an extensive
     opinion regarding this issue in this same case and I don’t think we need
     to muddy the waters too much. I was going to acach your aﬃdavit
     because I thought it would make you feel becer to be able to controvert
     what they said about your intent, implying something nefarious. But I
     think I have a handle on the applicable law and that doesn’t need to be
     addressed in an aﬃdavit.



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     On Sep 1, 2020, at 1:02 PM, Steve Kardell
     <skardell@kardelllawgroup.com> wrote:




                                                                        Exh 5
Case 4:20-cv-00068-RWS-CMC Document 149-5 Filed 12/18/20 Page 4 of 18 PageID #:
                                  3489



     Noted.


     <image001.png>


     Steve Kardell

     Board Cer)ﬁed Labor & Employment Law; Texas Board of Legal
     Specializa)on

     <image002.png>

     4514 Cole Avenue, Suite 600
     Dallas, Texas 75205

     Direct: 214-616-4654
     Secure Fax: 469-729-9926
     Email: skardell@kardelllawgroup.com
     Website: www.dallaswhistleblowerlawyer.com
     <image003.jpg>
     <image004.jpg>

     <image005.png>
     <image006.png> <image007.png> <image008.png>


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                                  3490




     From: Rafe Foreman <srforeman@hsjusMce.com>
     Sent: Tuesday, September 1, 2020 1:01 PM
     To: Steve Kardell <skardell@kardelllawgroup.com>
     Cc: hutch@hsjusMce.com; Juan Antonio Lozada
     <juan@tximmigraMonlaw.com>
     Subject: Re: ... no objecMon from you guys?

     Strenuous objecMon.
     S. Rafe Foreman
     srforeman@hsjustice.com

     “Get you knee off my neck”
     In Memory of George Floyd 5/25/2020
     "The only thing necessary for the triumph of evil is for good men to do nothing”.
     Edmund Burke 1729-1797
     “Do Something!”
     El Paso/Dayton crowds 8/5/2019
     “ Travel is fatal to prejudice, bigotry, and narrow-mindedness…”
     Mark Twain- The Inncocents Abroad



     <image009.png>


         1312 Texas Avenue, Suite 101
               Lubbock, Texas 79401
                   (806) 491-4911
               (806) 491-9911 fax

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                                                                                         Exh 5
Case 4:20-cv-00068-RWS-CMC Document 149-5 Filed 12/18/20 Page 6 of 18 PageID #:
                                  3491




     On Sep 1, 2020, at 1:00 PM, Steve Kardell
     <skardell@kardelllawgroup.com> wrote:

     As far as the procedure is concerned, we're looking at that right now.
     Obviously we would prefer to acach our aﬃdavit to your moMon, but
     without being able to see the moMon, we are precy much in the dark as
     to how you plan to address the issues. The simple soluMon would be to
     send me over what you have so far and I can see if that looks OK from
     our perspecMve.

     Your (e.g., Rafe’s) objecMon is noted .


     <image001.png>


     Steve Kardell

     Board Cer)ﬁed Labor & Employment Law; Texas Board of Legal
     Specializa)on

     <image002.png>

     4514 Cole Avenue, Suite 600
     Dallas, Texas 75205

     Direct: 214-616-4654
     Secure Fax: 469-729-9926
     Email: skardell@kardelllawgroup.com
     Website: www.dallaswhistleblowerlawyer.com
     <image003.jpg>
     <image004.jpg>

     <image005.png> <image006.png> <image007.png> <image008.
     png>


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Case 4:20-cv-00068-RWS-CMC Document 149-5 Filed 12/18/20 Page 7 of 18 PageID #:
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     From: hutch@hsjusMce.com <hutch@hsjusMce.com>
     Sent: Tuesday, September 1, 2020 12:56 PM
     To: Steve Kardell <skardell@kardelllawgroup.com>
     Cc: Juan Antonio Lozada <juan@tximmigraMonlaw.com>; Rafe Foreman
     <srforeman@hsjusMce.com>
     Subject: Re: ... no objecMon from you guys?

     I’m not sure. I’ve never heard of a non-party ﬁling their own response.
      I don’t think I really understand what you are doing



     <image009.png>



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     On Sep 1, 2020, at 12:54 PM, Steve Kardell
     <skardell@kardelllawgroup.com> wrote:

     I'm assuming there would be no objecMon from you guys on this, right?


     <image001.png>


     Steve Kardell

     Board Cer)ﬁed Labor & Employment Law; Texas Board of Legal
     Specializa)on

     <image002.png>

     4514 Cole Avenue, Suite 600
     Dallas, Texas 75205



                                                                             Exh 5
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                                  3494



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     Secure Fax: 469-729-9926
     Email: skardell@kardelllawgroup.com
     Website: www.dallaswhistleblowerlawyer.com
     <image003.jpg>
     <image004.jpg>

     <image005.png> <image006.png> <image007.png> <image008.
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     From: Steve Kardell
     Sent: Tuesday, September 1, 2020 12:53 PM
     To: 'hutch@hsjusMce.com' <hutch@hsjusMce.com>
     Subject: ... it might be less cumbersome for me to ﬁle my own response

     Any idea when I could see a rough draj of what you guys plan to ﬁle? I
     just lej you a voicemail on this .

     What I'm thinking is it might be less cumbersome for you guys if I ﬁle my
     own response .

     I checked with Barcus on this a few minutes ago and he says
     MoneyGram has no objecMon.




                                                                                 Exh 5
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      I need to make a decision on this precy quickly, however. Seeing your
      draj would be helpful.


      <image001.png>


      Steve Kardell

      Board Cer)ﬁed Labor & Employment Law; Texas Board of Legal
      Specializa)on

      <image002.png>

      4514 Cole Avenue, Suite 600
      Dallas, Texas 75205

      Direct: 214-616-4654
      Secure Fax: 469-729-9926
      Email: skardell@kardelllawgroup.com
      Website: www.dallaswhistleblowerlawyer.com
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Case 4:20-cv-00068-RWS-CMC Document 149-5 Filed 12/18/20 Page 11 of 18 PageID #:
                                   3496



      message. Thank You.




      From: hutch@hsjusMce.com <hutch@hsjusMce.com>
      Sent: Tuesday, September 1, 2020 12:38 PM
      To: Steve Kardell <skardell@kardelllawgroup.com>
      Subject: Re: can i see your draj so far?

      Hey Steve

      My associate is working on our Response as we speak. I can tell you
      that we are focused on the scope of what can arise out of the admin
      complaint and that the admin complaint was intenMonally broad for
      that very reason, that Wallace doesn’t require speciﬁc acts as
      demonstrated by the language analyzed in that case


      <image009.png>



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                                   3497



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      On Sep 1, 2020, at 12:26 PM, Steve Kardell
      <skardell@kardelllawgroup.com> wrote:

      I just lej you a voicemail on this.


      <image001.png>


      Steve Kardell

      Board Cer)ﬁed Labor & Employment Law; Texas Board of Legal
      Specializa)on

      <image002.png>

      4514 Cole Avenue, Suite 600
      Dallas, Texas 75205

      Direct: 214-616-4654
      Secure Fax: 469-729-9926
      Email: skardell@kardelllawgroup.com
      Website: www.dallaswhistleblowerlawyer.com
      <image003.jpg>
      <image004.jpg>

      <image005.png> <image006.png> <image007.png> <image008.
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      From: Steve Kardell
      Sent: Tuesday, September 1, 2020 11:49 AM
      To: 'hutch@hsjusMce.com' <hutch@hsjusMce.com>
      Subject: RE: SK DeclaraMon; did you mean ...

      Can you send me your draj? That would help. Filing deadline is
      tomorrow, right?




      <image001.png>


      Steve Kardell

      Board Cer)ﬁed Labor & Employment Law; Texas Board of Legal
      Specializa)on

      <image002.png>

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Case 4:20-cv-00068-RWS-CMC Document 149-5 Filed 12/18/20 Page 14 of 18 PageID #:
                                   3499



      Email: skardell@kardelllawgroup.com
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      From: hutch@hsjusMce.com <hutch@hsjusMce.com>
      Sent: Tuesday, September 1, 2020 11:45 AM
      To: Steve Kardell <skardell@kardelllawgroup.com>
      Subject: Re: SK DeclaraMon; did you mean ...

      yes, sorry


      <image009.png>



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              Fort Worth, Texas 76102
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                 F: (817) 820-0111


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      On Sep 1, 2020, at 11:37 AM, Steve Kardell
      <skardell@kardelllawgroup.com> wrote:

      Did you mean to say “Can you remove III and IV”


      <image001.png>


      Steve Kardell

      Board Cer)ﬁed Labor & Employment Law; Texas Board of Legal
      Specializa)on

      <image002.png>

      4514 Cole Avenue, Suite 600
      Dallas, Texas 75205

      Direct: 214-616-4654


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                                   3501



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      From: hutch@hsjusMce.com <hutch@hsjusMce.com>
      Sent: Tuesday, September 1, 2020 10:01 AM
      To: Steve Kardell <skardell@kardelllawgroup.com>
      Cc: Laura Smith <lsmith@kardelllawgroup.com>; Juan Antonio Lozada
      <juan@tximmigraMonlaw.com>; Rafe Foreman
      <srforeman@hsjusMce.com>
      Subject: Re: REVISED DRAFT DeclaraMon of SK; 9-1-2020

      Thanks Steve. I think I and II are helpful. I think III and IV are argument
      and worry that they would be used as a basis to exclude the declaraMon.
      Can you remove II and III? Thanks, Susan
      <image009.png>




                                                                                  Exh 5
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      On Sep 1, 2020, at 7:34 AM, Steve Kardell
      <skardell@kardelllawgroup.com> wrote:

      See a\ached. We have a few cites missing. Adding
      now. If you have any comments, be sure and copy
      Laura Smith, email above
      <REVISED DRAFT DeclaraMon of SK; 9-1-2020.docx>




                                                                        Exh 5
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